Filed 8/21/24 P. v. Seechan CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


            IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                     FIFTH APPELLATE DISTRICT


    THE PEOPLE,
                                                                                             F087426
           Plaintiff and Respondent,
                                                                               (Super. Ct. No. VCF130050)
                    v.

    CHAVA SEECHAN,                                                                        OPINION
           Defendant and Appellant.



                                                   THE COURT*
         APPEAL from a judgment of the Superior Court of Tulare County. Antonio A.
Reyes, Judge.
         James S. Thomson, under appointment by the Court of Appeal, for Defendant and
Appellant.
         Office of the State Attorney General, Sacramento, California, for Plaintiff and
Respondent.
                                                        -ooOoo-




*        Before Levy, Acting P. J., Poochigian, J. and DeSantos, J.
                                      INTRODUCTION
          In 2006, a jury convicted appellant of willful, deliberate, and premeditated
attempted murder (Pen. Code, § 664/187, subd. (a)),1 three counts of second degree
robbery (§§ 211, 212.5, subd. (c)), and other related offenses and enhancements.
Appellant was sentenced to 35 years to life, plus 41 years eight months in state prison.
          In 2023, the California Department of Corrections and Rehabilitation (CDCR) sent
a letter to the trial court identifying an error in the indeterminate abstract of judgment.
The CDCR noted that the indeterminate abstract of judgment reflected that, as to the
willful, deliberate, and premeditated attempted murder count, the trial court incorrectly
imposed an additional 15-year term pursuant to section 186.22, subdivision (b)(5).
          In response to the CDCR’s letter, the trial court held a hearing and ordered the
15-year term stricken from the indeterminate abstract of judgment. This appeal is taken
from the trial court’s order.
          Appellant’s appointed counsel filed a brief with this court pursuant to People v.
Wende (1979) 25 Cal.3d 436 (Wende), identifying no error and asking this court to review
the record and determine if there are any reasonably arguable issues on appeal. Appellant
was afforded an opportunity to submit a supplemental letter or brief but failed to do so in
the time allotted.
          We have conducted an independent review of the record and find no error. We
affirm.
                                       BACKGROUND
          Appellant was convicted of willful, deliberate, and premeditated attempted murder
(§§ 664/187, subd. (a); count 1), shooting at an occupied motor vehicle (§ 246; count 2),
two counts of assault with a semiautomatic firearm (§ 245, subd. (b); counts 3 and 7) and
three counts of second degree robbery (§§ 211, 212.5, subd. (c); counts 4-6). The jury

1         All further statutory references are to the Penal Code unless otherwise indicated.


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also found true the following allegations: as to counts 1-7, that appellant committed the
offense for the benefit of a criminal street gang (§ 186.22, subd. (b)(1)); as to counts 1
and 5, that appellant intentionally discharged a firearm (§ 12022.53, subd. (c)); as to
counts 5 and 6, that appellant personally used a firearm within the meaning of section
12022.53, subdivision (b); and as to counts 1, 3, and 7, that appellant personally used a
firearm within the meaning of section 12022.5, former subdivision (a)(1).
       The trial court sentenced appellant to 35 years to life plus 41 years eight months in
state prison.2 As pertinent here, on count 1, the trial court sentenced appellant to 15 years
to life on the substantive offense pursuant to section 186.22, subdivision (b)(5), plus 20
years for the discharge of a firearm enhancement (§ 12022.53, subd. (c)), for a total
indeterminate term of 35 years to life.
       In 2023, the CDCR sent a letter to the trial court stating appellant’s indeterminate
abstract of judgment contains an error. The abstract reflected, as to count 1, that the trial
court imposed as an enhancement an additional 15-year term pursuant to section 186.22,
subdivision (b)(5). Thus, as written, the abstract showed a total sentence on count 1 of 50
years to life, not 35 years to life. 3
       The CDCR explained that section 186.22, subdivision (b)(5) provides for an
alternate penalty provision, not an enhancement. (See People v. Jefferson (1999) 21
Cal.4th 86, 101.) This subdivision states that when a defendant commits an offense for
the benefit of a criminal street gang “in the commission of a felony punishable by

2      The trial court initially sentenced appellant to 35 years to life plus 45 years. On
appeal, we reversed the section 186.22, subdivision (b)(1) gang finding on count 4,
reducing the determinate portion of appellant’s sentence to 41 years eight months.
(People v. Seechan (Mar. 10, 2008, F051825) [nonpub. opn.].)
3       While not addressed by the CDCR, we observe that the 15-year enhancement
listed on the indeterminate abstract of judgment was not imposed during the oral
pronouncement of judgment. “Ordinarily, where there is a discrepancy between the oral
pronouncement of judgment and the abstract of judgment, the oral pronouncement
controls.” (People v. Burke (2023) 89 Cal.App.5th 237, 244.)


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imprisonment in the state prison for life shall not be paroled until a minimum of 15
calendar years have been served.” (§ 186.22, subd. (b)(5).) “Unlike an enhancement,
which provides for an additional term of imprisonment, the 15-year minimum term in
section [186.22, subdivision (b)(5)] sets forth an alternate penalty for the underlying
felony itself, when the jury has determined that the defendant has satisfied the conditions
specified in the statute.” (People v. Jefferson, supra, 21 Cal.4th at p. 101.)
       The CDCR observed that the trial court correctly applied the alternate penalty
provision to count 1 by sentencing appellant to 15 years to life on the substantive offense.
But because section 186.22, subdivision (b)(5) is not an enhancement, the additional
15-year “enhancement” term was erroneous.
       Upon receipt of the CDCR’s letter, the trial court set the matter for a hearing. The
court and parties agreed the indeterminate abstract of judgment was incorrect, and that
the 15-year “enhancement” pursuant to section 186.22, subdivision (b)(5), must be
stricken. The court prepared an amended indeterminate abstract of judgment reflecting
its order striking the additional 15-year term from the abstract.
                                       DISCUSSION
       As noted above, appellant’s counsel filed a Wende brief identifying no error and
asking this court to review the record to determine whether there are any arguable issues
on appeal. We have conducted an independent review of the record. We find that no
reasonably arguable factual or legal issues exist.
                                      DISPOSITION
       The judgment is affirmed.




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